                 Case: 3:20-cr-00133-wmc Document #: 40 Filed: 03/29/22 Page 1 of 1
                                  COURTROOM MINUTES
                               ARRAIGNMENT/PLEA HEARING

DATE:_____________
      3/29/2022       DAY:_______________
                            Tuesday          START TIME:_____________
                                                          2:37 pm     END TIME:_______________
                                                                                 3:00 pm

JUDGE/MAG.:____________________
             WMC                     CLERK:____________________
                                             JLS                REPORTER:____________________
                                                                           PCH

PROBATION OFFICER:_________________ INTERPRETER:__________________         SWORN: YES      NO
CASE NUMBER:_________________
              20-cr-133-wmc          CASE NAME: USA v. ________________________________________
                                                         Leva Oustigoff

APPEARANCES:
ASST. U.S. ATTY.:_________________________
                  Diane Schlipper                 DEFENDANT ATTY.:_____________________________
                                                                    Patrick Stangl

                 _________________________                           _____________________________
                                                  DEFENDANT PRESENT: YES          NO
OFFENSE INFORMATION:
                         2
MAXIMUM PENALTY: CT(S) _______________;   3
                                        _______________                        250,000
                                                        YR(S) IMPRISONMENT; $________________ FINE;
 1
_________ YEAR(S) SUPERVISED RELEASE;   $_____________
                                          100           SPECIAL ASSESSMENT;            RESTITUTION.
                   60
DEFENDANT AGE:__________       INDICTMENT/INFORMATION READ           DEFENDANT WAIVES READING
PLEA:
        GUILTY                    DEFENDANT SWORN
        NOT GUILTY                PLEA ACCEPTED AS KNOWING AND VOLUNTARY
        NO CONTEST                DEFT. ADJUDGED GUILTY BY COURT
        MUTE
TRIAL SCHEDULE:
   JURY SEL./TRIAL: _________________________        TRIAL ESTIMATE:____________ DAYS
   PTMH/EVID. HRG.: _________________________        MOTIONS DUE:____________________
   FPTC:              _________________________      FPTC SUBMISSIONS:________________
   FINAL HEARING: _________________________
SENTENCING SCHEDULE:
   PRESENTENCE REPORT DUE:________________
                              6/3/2022               OBJECTIONS DUE:_______________
                                                                      6/17/2022

   SENTENCING :_______________
                 7/7/2022      at ____________
                                   1:00 pm

RELEASE/DETENTION:
        ORDER SETTING CONDITIONS OF RELEASE ENTERED/AFFIRMED.
        DEFENDANT DETAINED PENDING TRIAL/SENTENCING.
        DEFENDANT TEMPORARILY DETAINED; DETENTION HEARING:______________________________
NOTES:
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
                                                                                       23 min
                                                                    TOTAL COURT TIME:__________
